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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

                                                Case No. 1:14-cv-01608
Evelyn Goodshot-Segovia,

       Plaintiff                                        PLAINTIFF’S F.R.C.P. 30b(6)
                                                         NOTICE OF DEPOSITION
v.

State Collection Service, Inc.

       Defendant.



                                 NOTICE OF SETTLEMENT

       The parties have settled this case and will enter a voluntary stipulation to dismiss within

45 days.

                                             RESPECTFULLY SUBMITTED,

                                             Hyslip & Taylor, LLC, LPA


                                             By:    /s/ Mark T. Lavery
                                             One of Plaintiff’s Attorneys

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